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 1   MICHAEL D. LONG (CA State Bar #149475)
     901 H Street, Suite 301
 2
     Sacramento, CA 95814
 3   (916) 447-1920
     Mike.Long.Law@msn.com
 4
     Attorney for CLARISA ANG
 5

 6                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,    ) No. CR-S-08-318 LKK
 8
                     Plaintiff,       )
 9                                    ) STIPULATION AND
           v.                         ) ORDER TO CONTINUE THE STATUS
10                                    ) CONFERENCE
     JOY JOHNSON, et al.,             )
11
                                      ) Date: 12-20-11
12
                         Defendant.   ) Time: 9:15 a.m.
     ================================) Judge: Hon. Lawrence K. Karlton
13
            It is hereby stipulated between the parties, Assistant United States Attorney Russell
14

15
     Carlberg, Michael Long, attorney for CLARISA ANG, and Michael Bigelow, attorney for CRIS

16   ANG, that the sentencing hearing date of November 1, 2011, should be continued until December
17   20, 2010. The continuance is necessary to adjust the schedule for the pre-sentence report, as
18
     follows:
19
            Judgment and sentencing date:                                12/20/11
20
            Reply, or non-opposition:                                    12/13/11
21

22          Motion for Correction of the Presentence Report
            Shall be filed with the court and served on the Probation
23          Officer and disclosed to counsel no later than:              12/6/11
24
            The Presentence shall be filed no later than:                11/29/11
25
            Counsel’s written objections to the Presentence Report
26          Shall be filed no later than:                                11/22/11
27
            The Draft Presentence report has already been distributed.
28




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 1
     Dated: October 14, 2011                    Respectfully submitted,
 2

 3                                              /s/ Michael D. Long__________
                                                MICHAEL D. LONG
 4                                              Attorney for Clarisa Ang
 5
     Dated: October 14, 2011                    BENJAMIN WAGNER
 6                                              United States Attorney

 7                                              /s/ Russell Carlberg____
                                                RUSSELL CARLBERG
 8
                                                Assistant U.S. Attorney
 9
     Dated: October 14, 2011                           Respectfully submitted,
10
                                                /s/ Michael Bigelow__________
11
                                                MICHAEL BIGELOW
12
                                                Attorney for Cris Ang

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              Case 2:08-cr-00318-DAD Document 290 Filed 10/28/11 Page 3 of 3


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     Sacramento, CA 95814
 3   (916) 447-1920
     Mike.Long.Law@msn.com
 4
                              IN THE UNITED STATES DISTRICT COURT
 5
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 6
     THE UNITED STATES OF AMERICA,                 ) No. CR-S-08-318 LKK
 7                   Plaintiff,                    )
                                                   ) ORDER
 8
            v.                                     )
 9                                                 ) Date: 10-20-11
     JOY JOHNSON, et al.,                          ) Time: 9:15 a.m.
10                                                 ) Judge: Hon. Lawrence K. Karlton
                     Defendant.                    )
11
     ================================)
12
            UPON GOOD CAUSE SHOWN and the stipulation of the parties, it is ordered that the
13
     sentencing hearing for CLARISA ANG and CRIS ANG, presently set for November 1, 2011, at
14
     9:15 a.m. be continued to December 20, 2011, at 9:15 a.m. The revised schedule for the pre-
15
     sentence report shall be as follows:
16

17
            Judgment and sentencing date:                               12/20/11

18          Reply, or non-opposition:                                   12/13/11
19          Motion for Correction of the Presentence Report
20
            Shall be filed with the court and served on the Probation
            Officer and disclosed to counsel no later than:             12/6/11
21
            The Presentence shall be filed no later than:               11/29/11
22

23
            Counsel’s written objections to the Presentence Report
            Shall be filed no later than:                               11/22/11
24
     Dated: October 28, 2011
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